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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

JOSEPH MACARTHUR, JAMIE
VILLALOBOS and JESUS
HERNANDEZ,

                      Plaintiffs,

v.                                                         Case No: 6:14-cv-2085-Orl-41GJK

US CORRECTIONS LLC, USG7, LLC,
ASHLEY JACQUES and STEVEN L.
JACQUES,

                      Defendants.


                                RELATED CASE ORDER
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve a

certification as to whether the instant action should be designated as a similar or successive case

pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the attached form Notice of

Pendency of Other Actions.


January 8, 2015
                                                              CARLOS E. MENDOZA
                                                                 Carlos E. Mendoza
                                                             United States District Judge


Attachments: Notice of Pendency of Other Actions [mandatory form]
             Magistrate Judge Consent /Letter to Counsel
             Magistrate Judge Consent Form /Entire Case
             Magistrate Judge Consent /Specified Motions

Copies to:     All Counsel of Record
               All Pro Se Parties




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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

JOSEPH MACARTHUR, JAMIE
VILLALOBOS and JESUS
HERNANDEZ,

                        Plaintiffs,

v.                                                            Case No: 6:14-cv-2085-Orl-41GJK

US CORRECTIONS LLC, USG7, LLC,
ASHLEY JACQUES and STEVEN L.
JACQUES,

                  Defendants.
______________________________________

                  NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____     IS            related to pending or closed civil or criminal case(s) previously filed in this
                        Court, or any other Federal or State court, or administrative agency as
                        indicated below:
                        _____________________________________________________
                        _____________________________________________________
                        _____________________________________________________
                        _____________________________________________________

_____ IS NOT            related to any pending or closed civil or criminal case filed with this Court,
                        or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER ACTIONS
upon each party no later than fourteen days after appearance of the party.


Dated:



_____________________________
Counsel of Record or Pro Se Party
[Address and Telephone]


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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Middle District of Florida

                JOSEPH MACARTHUR, et al.                                       )
                                Plaintiffs                                     )
                         v.                                                    )      Civil Action No.      6:14-cv-2085-Orl-41GJK
               US CORRECTIONS LLC, et al.                                      )
                               Defendants                                      )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Middle District of Florida

              JOSEPH MACARTHUR, et al.                                        )
                              Plaintiff
                                 s                                            )
                       v.                                                     )       Civil Action No. 6:14-cv-2085-Orl-41GJK
             US CORRECTIONS LLC, et al.                                       )
                            Defendants                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this
authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




           Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                    District Judge’s signature


                                                                                                     Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
